     Case 2:07-cr-00038-RHW     ECF No. 266    filed 04/30/08   PageID.1777 Page 1 of 2



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 6                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
 7
 8   UNITED STATES OF AMERICA,
                                                 NO. CR-07-038-RHW-3
 9            Plaintiff,

10            v.                                 ORDER DENYING
                                                 DEFENDANT’S MOTION FOR A
11   JAMIE VAUDEEN                               JUDGMENT OF ACQUITTAL
     WHITTENBURG,                                OR IN THE ALTERNATIVE FOR
12                                               A NEW TRIAL
              Defendant.
13
14         Before the Court is Defendant’s Motion for a Judgment of Acquittal or in the
15 Alternative for a New Trial (Ct. Rec. 160). A hearing was held on the motion on
16 April 21, 2008. Defendant was present and represented by Kim Deater. The
17 Government was represented by Joseph Harrington.
18      For the reasons stated on the record, Defendant’s Motion for a Judgment of
19 Acquittal or in the Alternative for a New Trial is denied.
20      Accordingly, IT IS HEREBY ORDERED:
21         1. Motion for a Judgment of Acquittal or in the Alternative for a New Trial
22 (Ct. Rec. 160) is DENIED.
23       2. A sentencing hearing is set for May 29, 2008, at 10:30 a.m., in Spokane,
24 Washington.
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26 ///
27 ///
28 ///
     ORDER DENYING DEFENDANT’S MOTION FOR A JUDGMENT OF
     ACQUITTAL OR IN THE ALTERNATIVE FOR A NEW TRIAL ~ 1
     Case 2:07-cr-00038-RHW          ECF No. 266    filed 04/30/08   PageID.1778 Page 2 of 2



 1          IT IS SO ORDERED. The District Court Executive is directed to enter this
 2 Order and forward copies to counsel and the United States Probation.
 3          DATED this 30th day of April, 2008.
 4                                       S/ Robert H. Whaley
 5                                   ROBERT H. WHALEY
 6                               Chief United States District Judge

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     ORDER DENYING DEFENDANT’S MOTION FOR A JUDGMENT OF
     ACQUITTAL OR IN THE ALTERNATIVE FOR A NEW TRIAL ~ 2
